                  IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION



SANDSHAKER LOUNGE & PACKAGE STORE, LLC,
a Florida limited liability company,

     Plaintiff,                                 CASE NO.: 3:17-cv-686

v.

RKR BEVERAGE, INC., a Florida corporation,
ALOHA SCREEN PRINTING, LLC, CHAD
K. ROBELLO, and RODNEY L. ROBELLO,

     Defendants.
_______________________________________/


     DEFENDANTS RKR BEVERAGE, INC. AND CHAD ROBELLO'S
               MOTION FOR ATTORNEY'S FEES


     Defendants RKR Beverage, Inc and Chad Robello move this Court

for an order seeking a determination of entitlement to attorney's fees as the

prevailing party following Plaintiff's voluntary dismissal of Count IV of the

Complaint sounding in dilution under Section 495.151 and in support of the

Motion would state:


     This is a trademark claim brought by a lounge (The

Sandshaker or Shaker) against a nearby local bar (The Shaka


                                  Page 1 of 7
Bar) operated by RKR Beverage. After RKR filed a motion to

dismiss, Plaintiff filed a voluntary dismissal of Count IV for

dilution under §495.151, Fla. Stat.

Section 495.151(2) provides in part:

           In an action [for dilution ] brought under this section,
           the owner of a famous mark shall be entitled only to
           injunctive relief in this state unless the person
           against whom the injunctive relief is sought willfully
           intended to trade on the owner’s reputation or to
           cause dilution of the famous mark. If such willful
           intent is proven, and the mark is registered in this
           state, the owner shall also be entitled to all
           remedies set forth in this chapter, subject to the
           discretion of the court and the principles of equity.

Section 495.141 Remedies - provides in relevant part
           "the court may also award reasonable attorney's
           fees to the prevailing party according to the
           circumstances of the case.
     Section 495.141 provides for attorney's fees to the prevailing for

claims brought under §495.151. The Plaintiff has now twice dismissed the

claims for dilution under Chapter 495.151. The first voluntary dismissal

came in the state court on September 15, 2017 after two years of litigation

entry of a trial order and attendant discovery. See Request for Judicial

Notice [dkt 15]. Count IV of the Complaint brought under Section 495.151

in this Court was voluntarily dismissed for a second time on November 27,



                                  Page 2 of 7
2017 [dkt 25] after the Defendants had drafted and served a motion to

dismiss Count IV and other claims. [dkt 14].

      The Defendants RKR and Chad Robello have defeated the dilution

claim under §495.151 in two forums. These Defendants should be deemed

the prevailing party on the claim for dilution under 495.151. Because the

"Remedies" provision provides for prevailing party attorney's fees,

Defendants seek an order of entitlement to attorney's fees with the amount

and reasonableness of the fees to be determine by separate motion,

affidavit or hearing. The fees sought include all of the efforts to defeat the

dilution claim in state court for a period of two years and the time spent for

research, review and drafting the motion to dismiss in this federal action.

The court is permitted to award attorney's fees "according to the

circumstances of the case". § 495.141, Fla. Stat. This is a statutory grant of

discretionary authority to prevent frivolous claims and defenses. Here the

Plaintiff has done nothing but burden the Defendant with a cause of action

in which it apparently had no faith nor desire to prosecute when tested.

Some modicum of judgment, analysis and intellectual integrity is warranted

before filing claims in federal court. While movant could not find case law

expressly declaring the purpose of the "prevailing party" attorney's fee

provision found in Section 495.141, analogous language in other contexts


                                  Page 3 of 7
is well known and is designed to discourage frivolous claims and defenses,

and to make litigants whole. See e.g., Bush v Raytheon, 2010 US. Dist.

LEXIS 51283 (M.D. Fla. 2010)(court awarded attorney's fees to defendant

for successfully defeating whistleblower claim noting that attorney's fees

promote the remedial purpose of the act by discouraging meritless claims).

      A second dismissal in state court or federal court is by rule one had

with prejudice and tantamount to a victory on the merits. Rule 41(a)(1)(B);

Victory Int'l United States, LLC v Perry Ellis Int'l, Inc., 2009 U.S. Dist.

LEXIS 134890 (S. D. Fla. 2009) (awarding attorney's fees to defendant in

FDUTPA case). The second voluntary dismissal is the product of

procedural vexatiousness and bad lawyering which should not be tolerated.

The Plaintiff was implored to dismiss the claims in state court, urged to do

so in the Motion to Dismiss filed here and then finally after several years of

litigation in state court [dkt 15] ultimately relents only when it becomes

incumbent upon the Plaintiff to defend the dilution claim in a federal court

well familiar with dilution law and pleading standards. There was never a

valid dilution claim because the Plaintiff was not famous and there were no

allegations of fact to support dilution by tarnishment or blurring.

      While the undersigned could not locate a holding specifically

addressing the intent of the prevailing party language in Section 495.141,


                                   Page 4 of 7
voluntary dismissals will support an award of attorney's fees for example,

against an insurer which files a voluntary dismissal under Section 627.428,

Fla. Stat., to a defendant after a voluntary dismissal of a FDUTPA claim

(Victory Int'l, supra)   and in Title VII litigation. See e.g.,   CRST   Van

Expedited, Inc. v EEOC, 136 S. Ct. 1642, 1651-52 ("there is no indication

that Congress intended that defendants should be eligible to recover

attorney's fees only when courts dispose of claims on the merits"); State

law provides for an award of fees to a defendant following a voluntary

dismissal where there are contractual prevailing party provisions. See e.g.,

Parra v Minto Townpark, LLC, 2009 U.S. Dist. LEXIS 81227 (S. D. Fla.

2009); Bank of New York v. Williams, 979 So. 2d 347 (Fla. 1st DCA 2008);

Nudal v. Flagstar Bank, FSB, 60 So. 3d 1163 (Fla. 4th DCA 2011)(§57.105

fees); Valcarcel, v. Chase Bank, USA N.A., 54 So. 3d 989 (Fla. 4th DCA

2011)(same). Rule 41(a)(1)(B) renders the second voluntary dismissal of

the dilution claim the equivalent of dismissal on the merits. The movant

seeks an order of entitlement with fees for the time spent defeating the

dilution claim in state and federal court with the amount to be determined

by later hearing prior to final judgment.


                             Certificate of Good Faith



                                   Page 5 of 7
      Pursuant to local rule the undersigned certifies that the undersigned

counsel contacted counsel for Plaintiff on November 28th prior to service of

this motion in an effort to resolve the issues raised by this motion.


                        Certificate of Word Count


      The undersigned certifies the total word count for this motion is 1,244

words.


                              Respectfully submitted,

                              MARSHALL, DENNEHEY, WARNER,
                              COLEMAN & GOGGIN, P.A.


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                        CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on November 28, 2017, I electronically

filed the foregoing with the Clerk of Court by using CM/ECF system which

                                    Page 6 of 7
will send a copy of the Notice of Electronic Filing to the following: Robert

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                                   /s/ David W. Henry
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                                 Page 7 of 7
